437 F.2d 110
    UNITED STATES of America, and P. D. Aiken, Special Agent of the Internal Revenue Service, Petitioners-Appellants,v.Norman SOLOMON, as President of Acceptance, Inc. of Miami and Acceptance, Inc. of Miami, Respondents-Appellees.
    No. 30542 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    January 13, 1971.
    
      Johnnie M. Walters, Asst. Atty. Gen., Meyer Rothwacks, Atty., Tax Div., U. S. Dept. of Justice, Washington, D. C., Robert W. Rust, U. S. Atty., Clemens Haggland, Asst. U. S. Atty., Miami, Fla., for petitioners-appellants.
      Charles L. Ruffner, Miami, Fla., for respondents-appellees.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    
      1
      This is an appeal by the United States from an order of the district court refusing to enforce an Internal Revenue Service summons pursuant to Section 7601 et seq.,1 of the Internal Revenue Code of 1954. After hearing evidence in this independent action seeking to enforce the summons, the district court refused enforcement in that the summons was "ambiguous and thereby deficient". A review of the record on appeal indicates to this court that the district court was correct and that its order should be affirmed.
    
    
      2
      Affirmed.
    
    
      
        Notes:
      
      
        *
         [1] Rule 18, 5th Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409, Part I
      
      
        1
         Section 7602 of the Internal Revenue Code of 1954 empowers a district court to order anyone duly summoned by the Internal Revenue Service to testify or to produce documents. Such an order is appealable by the witness, the taxpayer, or any affected party. Reisman v. Caplin (1964) 375 U.S. 440, 84 S.Ct. 508, 11 L.Ed.2d 459. See also Moore's Federal Practice, Sec. 110.13(2), Vol. 9, pp. 157, 158
      
    
    